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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK




IN RE FOREIGN EXCHANGE
BENCHMARK RATES ANTITRUST           No. 1:13-cv-07789-LGS
LITIGATION




       PLAINTIFFS’ RESPONSE TO CREDIT SUISSE DEFENDANTS’
                PRETRIAL MEMORANDUM OF LAW
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                                            ARGUMENT

       Facing overwhelming evidence of its participation in a massive global antitrust conspiracy,

Credit Suisse centers its trial strategy on presenting the jury with a legally unfounded Hobson’s

choice: Either Plaintiffs have proved a conspiracy that involved exactly 16 banks, that spanned

exactly December 1, 2007 through December 31, 2013, and that affected exactly 52 currency pairs,

or the jury must return a verdict in favor of Credit Suisse.

       But this gambit fails Antitrust 101: “To prevail on the certified issues, Plaintiffs need only

prove ‘a combination or some form of concerted action between at least two legally distinct

economic entities’ for the purpose of fixing spreads in the FX spot market, in which Credit Suisse

joined.” ECF No. 1842, at 2 (citing United States v. Am. Express Co., 838 F.3d 179, 193 (2d Cir.

2016)). This basic principle of antitrust law reveals the error at the heart of Credit Suisse’s estoppel

argument. Plaintiffs made no representation that by pursuing the broad antitrust conspiracy case

that is supported by the evidence, Plaintiffs were somehow suspending the applicable rules of law

and swearing off any and every jury verdict that did not match the exact scope of the conspiracy

alleged in the complaint. Credit Suisse’s rehashed—and now twice rejected—Rule 23 and Seventh

Amendment arguments fare no better. Courts routinely certify classes with class representatives

that did not purchase every product, from every defendant, during every period of the conspiracy.

Likewise, a detailed special verdict form—such as the Court’s proposal—addresses any potential

Seventh Amendment concerns that may arise in this bifurcated litigation.

       Plaintiffs respectfully request that the Court adopt Court Draft 1 as the verdict form in this

case. See ECF No. 1842, at 3-6. Court Draft 1 appropriately rejects Credit Suisse’s binary question

and allows the jury to determine whether there was a conspiracy, its timeframe, and its participants

based on a preponderance of the evidence through a series of six questions.




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I.     Plaintiffs Are Not Estopped from Trying This Case in Accordance with Basic
       Principles of Antitrust and Conspiracy Law.

       Credit Suisse claims that it would be “fundamentally unfair” for the Court to allow the jury

to determine the scope of the conspiracy. Br. at 2. But the purported “unfairness” that Credit Suisse

laments is rooted in basic principles of antitrust and conspiracy law, not in any representation by

Plaintiffs. Rejecting a related argument in another complex antitrust conspiracy case, the court

held that:

       the jury was not required to find that a conspiracy existed for the entire period
       alleged by plaintiffs. Nor was it required to find that the conspiracy involved all of
       the alleged conspirators or products. A conspiracy to fix prices for any product
       involving [the defendant] and any other manufacturer for any period within the
       alleged conspiracy period would give rise to liability.

In re: Urethane Antitrust Litig., No. 04-1616, 2013 WL 2097346, at *9 (D. Kan. May 15, 2013)

(“Urethane I”), amended, 2013 WL 3879264 (D. Kan. July 26, 2013), aff’d, 768 F.3d 1245 (10th

Cir. 2014) (“Urethane II”).

       The Court’s recent articulation of this basic principle of conspiracy law, ECF No. 1842, at

2, is consistent with more than a century of precedent rejecting Credit Suisse’s all-or-nothing

approach. Cases evaluating the scope of conspiracies in the criminal context are instructive. In

United States v. Blackwell, for instance, the Sixth Circuit approved as a “correct statement of law,”

a jury instruction that stated: “the government is not required to prove that all of the people named

in the indictment were members of the scheme or the conspiracy, so long as you find that at least

two persons, one of them being the defendant, were participants in the conspiracy alleged in the

indictment.” 459 F.3d 739, 764 (6th Cir. 2006). Likewise, in United States v. Johnston, the Tenth

Circuit held that “the government was not required to prove that [the defendant] conspired with

any or all of the named co-defendants, so long as it at least proved that he conspired ‘with others’

for the purpose alleged.” 146 F.3d 785, 791 (10th Cir. 1998) (emphasis added); see also Jones v.



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United States, 179 F. 584, 600 (9th Cir. 1910) (holding that the government was not “required to

prove that all the defendants named in the indictment were engaged in the conspiracy”; rather, “[i]t

was sufficient to constitute the conspiracy charged in the indictment to show that there was a

combination of two or more persons . . . .”).

         Fundamentally, the “scope of the conspiracy and membership in it are questions of fact for

the jury.” United States v. Sharpe, 193 F.3d 852, 867 (5th Cir. 1999); see also United States v.

Upton, 559 F.3d 3, 11 (1st Cir. 2009) (“Determining the contours of the conspiracy ordinarily is a

factual matter entrusted largely to the jury.”); United States v. Hong Vo, 978 F. Supp. 2d 49, 54

(D.D.C. 2013) (“[T]he scope of the conspiracy is a factual matter entrusted largely to the jury.”);

United States v. Benussi, 216 F. Supp. 2d 299, 311 (S.D.N.Y. 2002) (“[T]he precise scope of the

conspiratorial agreement was an issue for the jury.”), aff’d sub nom., United States v. Salmonese,

352 F.3d 608 (2d Cir. 2003).

         These fundamental tenets of conspiracy law apply with equal force in the antitrust context.

In Urethane I, for instance, the court faced a situation similar to this case: A class-action price-

fixing conspiracy case brought all the way to a jury verdict against a single hold-out defendant,

Dow. Dow argued—as Credit Suisse argues here—that if “the jury decided that the conspiracy did

not exist for even a single day within the alleged conspiracy period, or that plaintiffs otherwise

failed to meet their burden of proof to show a conspiracy . . . with respect to that single day, then

plaintiffs’ entire claim of conspiracy would fail as a matter of law.” Urethane I, 2013 WL 2097346,

at *4.

         The court noted the “absurdity of [this argument’s] premise” and rejected it, holding that

the plaintiffs were not “required to predict, with temporal exactness, the precise conspiracy that

the jury would find.” Id. Nor was the jury “required to find that each of the alleged co-conspirators




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actually participated in the conspiracy.” Id. (citing ABA Model Jury Instructions in Civil Antitrust

Cases at B–4 (2005)). Rather, a “conspiracy to fix prices for any product involving Dow and any

other manufacturer for any period within the alleged conspiracy period would give rise to

liability.” Id. at *9 (emphases added).1 In rejecting Dow’s appeal, the Tenth Circuit affirmed that

“the plaintiffs’ failure to prove a conspiracy for part of the alleged conspiracy period does not

invalidate the finding of liability.” Urethane II, 768 F.3d at 1267; see also United States v. Mobile

Materials, Inc., 881 F.2d 866, 874 (10th Cir. 1989) (stating in Sherman Act conspiracy case that

“the government may prove a narrower scheme than alleged”).

       Credit Suisse points to the verdict form and jury instructions in two cases in which it claims

courts “required the plaintiffs to prove the conspiracy that they had alleged,” and thus did not allow

the jury to decide the scope of the conspiracy. Br. at 13 (citing Final Verdict Form at 2-3, In re

Capacitors Antitrust Litig., No. 14-cv-03264 (N.D. Cal. Dec. 13, 2021), ECF No. 1645; Final Jury

Instructions at 9, In re Tableware Antitrust Litig., No. 04-cv-3514 (N.D. Cal. June 29, 2007), ECF

No. 384). But a mere two pages later, those same jury instructions state:

       It is not necessary that the evidence show that all of the means or methods claimed
       by plaintiffs were agreed upon to carry out the alleged conspiracy; nor that all of
       the means or methods that were agreed upon were actually used or put into
       operation; nor that all the persons alleged to be members of the conspiracy actually
       were members.

Final Jury Instructions at 11, In re Tableware Antitrust Litig., No. 04-cv-3514 (N.D. Cal. June 29,

2007), ECF No. 384; see also Final Jury Instructions at 25-26, In re Capacitors Antitrust Litig.,




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  While there are many similarities between the circumstances here and in Urethane, one
significant difference is that the trial in Urethane was not bifurcated and the jury there made a
determination of damages. Because the jury’s determination of the scope of the conspiracy was
subsumed into its determination of damages, the court rejected Dow’s argument that it was entitled
to a new trial because the jury did not specifically identify the scope of the conspiracy through a
special verdict form. See Urethane I, 2013 WL 2097346, at *9.


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No. 14-cv-03264 (N.D. Cal. Dec. 13, 2021), ECF No. 2899 (same); Plaintiffs’ Proposed Jury

Instructions at 18, ECF No. 1811-1 (same).

       Under the weight of these elementary principles of antitrust and conspiracy law, Credit

Suisse’s estoppel argument collapses. Credit Suisse claims that Plaintiffs are estopped from

proceeding in accordance with the law because Plaintiffs “represented to this Court that they will

prove a single, market-wide conspiracy.” Br. at 2. But the fact that Plaintiffs allege and intend to

prove a single, market-wide conspiracy is not in any way incompatible with the basic principle

that the jury will determine the scope of that single conspiracy. See, e.g., Summ. J. Op. at 8-9, ECF

No. 1650 (“[A] reasonable jury could find that a single conspiracy existed to fix spreads in the FX

market”); id. at 24 (“Plaintiffs’ evidence tends to exclude the possibility that the Defendant banks

acted independently, but the parties dispute the material facts of the scope of the purported

conspiracy.”). Nowhere in Credit Suisse’s seven pages of purportedly estoppel-generating

statements by Plaintiffs does Credit Suisse point to a single representation by Plaintiffs that even

hints that they were disclaiming the traditional role of the jury in determining the scope of the

conspiracy.

       Credit Suisse claims that it is shocked to find that Plaintiffs intend to let the jury decide the

scope of the conspiracy, asserting that Plaintiffs’ supposed “about-face” is “either a trial strategy

or a reaction to Credit Suisse’s April 22, 2022 motion for decertification.” Br. at 9. But Credit

Suisse itself acknowledged in its brief in support of its motion for decertification that “in

determining whether there was a conspiracy and the scope of any such conspiracy, the OTC Class

jury will need to decide which (if any) banks, currencies and time-periods were involved.” ECF

No. 1680, at 22. And Credit Suisse surely was aware of the key holding from the Court’s Summary

Judgment Opinion well before trial: “Neither party is entitled to summary judgment on the issue




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of Credit Suisse’s participation in the purported conspiracy because the scope of the conspiracy

or conspiracies is disputed.” Summ. J. Op. at 25 (emphasis added); see also id. at 24 (“Plaintiffs’

evidence tends to exclude the possibility that the Defendant banks acted independently, but the

parties dispute the material facts of the scope of the purported conspiracy.”).

       Judicial estoppel is appropriate where “1) a party’s later position is ‘clearly inconsistent’

with its earlier position; 2) the party’s former position has been adopted in some way by the court

in the earlier proceeding; and 3) the party asserting the two positions would derive an unfair

advantage against the party seeking estoppel.” In re Adelphia Recovery Trust, 634 F.3d 678, 695–

96 (2d Cir. 2011). Here, Credit Suisse’s argument for judicial estoppel fails on all three elements.

Alleging that conduct constituted a single, market-wide conspiracy is not “clearly inconsistent”

with the traditional practice of allowing the jury to determine the scope of the conspiracy. The

Court has never adopted the erroneous view that the jury is not permitted to determine the scope

of the conspiracy nor opined that any deviation from that possible scope absolves Credit Suisse of

liability for any conspiratorial conduct in which it did participate. And any harm that Credit Suisse

claims it would suffer from applying basic principles of antitrust and conspiracy law to this case

because Credit Suisse apparently would have defended itself differently these past nine years was

entirely self-inflicted for failing to timely comprehend this well-established law. Generously

assuming that Credit Suisse is genuinely surprised by the application of these basic principles of

antitrust law to this case, Credit Suisse’s unilateral misunderstanding of the law cannot bar

Plaintiffs from trying this case in accordance with fundamental principles of antitrust and

conspiracy law.

       The emptiness of Credit Suisse’s estoppel argument is also laid bare in its first paragraph,

which assures the Court that “In the operative complaint, Plaintiffs allege an ‘overarching




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conspiracy.’” Br. at 4 (citing Third Am. Compl. ¶ 136). What Credit Suisse elides is that the

“overarching conspiracy” alleged in the complaint is not, as they would now have it, an

overarching conspiracy of exactly 16 banks and 52 currency pairs from December 1, 2007 to

December 31, 2013. Rather, the Third Amended Complaint’s overarching conspiracy

“encompassed: (1) price fixing of bid/ask spreads; (2) price fixing various benchmark rates,

including, but not limited to, WM/Reuters benchmark rates and the ECB reference rate; and (3)

other collusive conduct, such as triggering client stop-loss orders and limit orders.” Third Am.

Compl. ¶ 124. Credit Suisse has, of course, been on notice that these latter two categories of

misconduct have been categorically excluded from Plaintiffs’ case since Plaintiffs’ motion for

class certification was served upon them more than four years ago. See ECF No. 1197. Their

reliance upon these representations as a basis for purported estoppel is preposterous.

       Credit Suisse has no claim of prejudice based on the fact that Plaintiffs intend to litigate

precisely the issues that this Court certified, which make no reference to a conspiracy of exactly

16 banks, no reference to a period of exactly December 1, 2007 to December 31, 2013, and no

reference to the exact 52 currency pairs. ECF No. 1331 at 25 (certifying issues of: “(1) the

existence of a conspiracy to widen spreads in the spot market and (2) the CS Defendants’

participation in the conspiracy.”). Plaintiffs, on the other hand, would be unfairly prejudiced if

Credit Suisse were permitted to fundamentally alter Plaintiffs’ burden of proof and effectively

absolve itself of liability by showing, for instance, that one bank did not participate in the

conspiracy with respect to a single currency pair on a single day in the class period.

II.    The Court’s Detailed Special Verdict Form Is Consistent with Rule 23 and the
       Seventh Amendment.

       Credit Suisse argues that permitting the jury to determine the scope of the conspiracy would

run afoul of Rule 23 and the Seventh Amendment because not every class representative transacted



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in every currency pair, with every co-conspirator, during every period of the conspiracy. See Br.

at 14-17. This transparent attempt to use pre-trial filings as a venue for continued argument in

favor of its motion for decertification has been largely rendered moot by the Court’s recent Order

denying that motion. See ECF No. 1868. Nevertheless, Credit Suisse’s baseless arguments should

not go unrebutted.

       Credit Suisse’s Rule 23 argument cannot withstand the “great weight of authority in price-

fixing conspiracy cases,” which “holds that the victim of one alleged co-conspirator is adequate to

prove liability for victims of all co-conspirators.” In re Currency Conversion Fee Antitrust Litig.,

264 F.R.D. 100, 112 (S.D.N.Y. 2010). Likewise, “the fact that Plaintiffs purchased only a small

portion of the products whose prices were anti-competitively established, and from only certain

retailers and not all co-conspirator retailers, does not render the Plaintiffs inadequate

representatives of the Class as a whole.’” Id. at 113 (quoting In re Playmobil Antitrust Litig., 35

F. Supp. 2d 231, 243 (E.D.N.Y. 1998)). The class representatives here “have every incentive to

expose the full scope of the conspiracy and have shown that they will zealously pursue the interests

of the entire class.” Id.; see also In re Indus. Diamonds Antitrust Litig., 167 F.R.D. 374, 380–81

(S.D.N.Y. 1996) (“[A] representative plaintiff may satisfy the adequacy requirement without

having purchased products from all of the defendants, having bought all of the affected products

or having made purchases throughout the entire class period.”).

       Credit Suisse relies primarily on a single case in which intra-class conflicts precluded

certification. See Br. at 15-16 (citing In re Literary Works in Elec. Database Copyright Litig., 654

F.3d 242 (2d Cir. 2011)). But the court in Literary Works stressed that a key factor in its decision

was the fact that the settlement before the court “confine[d] compensation and . . . limit[ed]

defendants’ liability by setting an $18 million recovery and cost ceiling,” and distributing that




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recovery would require “making essential allocation decisions among categories of claims.” 654

F.3d at 251 (internal citations omitted). This cap on compensation available to the class created a

zero-sum game: “Any improvement in the compensation of, for example, Category C claims would

result in a commensurate decrease in the recovery available for Category A and B claims.” Id. at

252. These concerns are not present here, because the class is certified only with respect to two

liability issues. The jury here will make no determination of damages, and thus no pie-splitting

between class members will be required. Future juries will determine the damages suffered by

class members in individual litigation, without any “cap” that would create the zero-sum game

found in Literary Works. Moreover, the “categories” of claims that created an intra-class conflict

in Literary Works were not purchases of separate products but rather separate legal claims, some

of which were categorically “more valuable” than others since they provided, for instance,

statutory damages. See id. at 251 n.6.

       This case is more akin to Industrial Diamonds. There, as here, a defendant facing price-

fixing-conspiracy allegations claimed that class certification was improper because each class

representative ostensibly “purchased only a tiny percentage of the products that defendants sold

during the proposed class period,” and thus would have “no incentive to offer proof of the effect

of the alleged conspiracy on those products that it did not purchase.” Indus. Diamonds, 167 F.R.D.

at 380. The court rejected this argument, holding that where “plaintiffs have alleged a single

conspiracy to artificially inflate prices, a representative plaintiff may satisfy the adequacy

requirement without having purchased products from all of the defendants, having bought all of

the affected products or having made purchases throughout the entire class period.” Id. at 380-81.

The court reasoned that the “same proof that would demonstrate that [the defendants] conspired to

raise one list price—e.g., evidence that defendants’ representatives exchanged list-price




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information and agreed on subsequent list prices—seems likely to establish that they conspired to

set other list prices at artificially high levels as well.” Id. at 381 (emphasis added). The court

concluded that each class representative has a “strong interest in presenting evidence that will tend

to prove the claims” of absent class members, “because the same evidence will most likely tend to

prove its own claims.” Id.

       Likewise, in In re Titanium Dioxide Antitrust Litigation, another price-fixing conspiracy

case, the defendants argued that class certification was improper because, among other things, one

class representative ceased purchasing the price-fixed product before the end of the conspiracy

period and thus had “no incentive” to prove a conspiracy for that later period. 284 F.R.D. 328, 339

(D. Md. 2012). The court rejected this argument, concluding that the “thrust of the litigation will

concern the Defendants’ conduct and the existence of the alleged conspiracy.” Id. Because the

class representatives and the absent class members “share common objectives and the same factual

and legal positions,” they therefore “have the same interest in establishing the liability” of the

defendants. Id.

       Credit Suisse’s typicality and commonality arguments fail as well. Because “[t]ypicality

refers to the nature of the claims of the representative, not the individual characteristics of the

plaintiff,” typicality is satisfied where, as here, the class representative’s claims are “based on the

same legal theory and arise from the same practice or course of conduct as the other class

members.” Playmobil, 35 F. Supp. 2d at 241-42; see also Titanium Dioxide, 284 F.R.D. at 339.

And in an antitrust conspiracy case such as this, the “existence, implementation and effect” of the

alleged conspiracy “are the central issues” of the case, and a “common thread of evidence is

admissible on these elements and will correspond to evidence which otherwise could be introduced

by absent class members.” In re NASDAQ Mkt.-Makers Antitrust Litig., 169 F.R.D. 493, 519




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(S.D.N.Y. 1996) (quoting In re Sugar Indus. Antitrust Litig., 73 F.R.D. 322, 345 (E.D. Pa. 1976)).

Here, commonality is clear because “proof of Defendants’ conspiracy lies at the heart of this case

and is common to the Class.” Id.2

        Credit Suisse’s Seventh Amendment argument, Br. at 22-23, merely rehashes arguments

from prior briefing on its now-denied motion to decertify without any clear connection to the

verdict-form question at hand. This Court has already found Credit Suisse’s Seventh Amendment

arguments to be baseless, ECF No. 1868, at 13-17, but even if there were Seventh Amendment

issues here, those concerns would be addressed by a more detailed verdict form, not a less detailed

and binary one. As Credit Suisse itself noted in its decertification brief, “in determining whether

there was a conspiracy and the scope of any such conspiracy, the OTC Class jury will need to

decide which (if any) banks, currencies and time-periods were involved.” ECF No. 1680, at 22.

        As this Court has recognized, trying “different but related issues before different juries

consistent with the Seventh Amendment ‘calls for sound case management,’ such as a special

verdict form, ‘not [outright] avoidance of [bifurcation].’” Order Denying Defs.’ Decertification

Mot., ECF No. 1868, at 14 (alterations in original) (citing Robinson v. Metro-N. Commuter R.R.

Co., 267 F.3d 147, 169 n.13 (2d Cir. 2001)). Here, the detailed special verdict form proposed by




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  Even if Credit Suisse’s unfounded Rule 23 arguments were valid, the appropriate response would
not be to adopt a legally dubious verdict form or decertify the class. Rather, if the issues identified
by Credit Suisse ever actually materialized, the appropriate response would be to modify the class
definition. At this late stage of litigation, “modification is far superior to decertification.” Urethane
I, 2013 WL 2097346, at *2. Thus, for instance, after the jury rendered its verdict in Urethane I,
the court modified the class definition to exclude the year 2004, which the jury found was outside
the scope of the conspiracy. Id. Even the case recently submitted by Credit Suisse as supplemental
authority in support of its motion for decertification favored modification of the class over
decertification. See Chen-Oster v. Goldman, Sachs & Co., No. 10-cv-6950, 2022 WL 3586460, at
*3 (S.D.N.Y. Aug. 22, 2022) (“The Court concludes that it can easily redefine the class to address
any standing concerns.”).

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the Court delineates the boundaries of any conspiracy found by the jury, obviating the Seventh

Amendment issues that Credit Suisse asserts.

III.    The Court Should Adopt Its Proposed Verdict Form.

        The Court should adopt its six-question proposed verdict form, ECF No. 1842, at 3-6. 3 In

stark contrast to the “inseparable and inscrutable unit” of Credit Suisse’s proposed verdict form,

Jones v. Miles, 656 F.2d 103, 108 (5th Cir. 1981), the Court’s proposal “identif[ies] the basis for

the jury’s verdict, and thus . . . avoid[s] confusion, appellate uncertainty, and the need for additional

proceedings,” McGuire v. Russell Miller, Inc., 1 F.3d 1306, 1310-11 (2d Cir. 1993). The detailed

questions regarding the identity of the co-conspirators and the time period of the conspiracy will

allow the jury to delineate the contours of any verdict that it renders, providing detailed factual

findings that are “akin to instructions” for future juries assessing damages to follow. Robinson,

267 F.3d at 169 n.13 (citing Steven S. Gensler, Bifurcation Unbound, 75 Wash. L. Rev. 705, 736-

37 (2000)).

                                           CONCLUSION

        The Court should adopt Court Draft 1 as the special verdict form in this case.

Dated: September 2, 2022                        Respectfully submitted,

                                                /s/ Michael D. Hausfeld

                                                HAUSFELD LLP
                                                MICHAEL D. HAUSFELD
                                                REENA A. GAMBHIR (pro hac vice)
                                                TIMOTHY S. KEARNS (pro hac vice)
                                                SARAH R. LAFRENIERE (pro hac vice)
                                                IAN ENGDAHL (pro hac vice pending)
                                                JOSE R. LAVERGNE (pro hac vice pending)
                                                888 16th Street NW, Suite 300
                                                Washington, DC 20006
                                                Telephone: 202/540-7200

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 Plaintiffs suggest only that the reference to “Question 7” below Question 5 should be removed.
ECF No. 1842, at 4.


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                             202/540-7201 (fax)
                             mhausfeld@hausfeld.com
                             rgambhir@hausfeld.com
                             tkearns@hausfeld.com
                             slafreniere@hausfeld.com
                             iengdahl@hausfeld.com
                             jlavergne@hausfeld.com

                             HAUSFELD LLP
                             MICHAEL P. LEHMANN
                             CHRISTOPHER L. LEBSOCK (pro hac vice)
                             600 Montgomery Street, Suite 3200
                             San Francisco, CA 94111
                             Telephone: 415/633-1908
                             415/358-4980 (fax)
                             mlehmann@hausfeld.com
                             clebsock@hausfeld.com

                             SCOTT+SCOTT ATTORNEYS AT LAW LLP
                             CHRISTOPHER M. BURKE (CB-3648)
                             WALTER W. NOSS (WN-0529)
                             KRISTEN M. ANDERSON (pro hac vice)
                             KATE LV (pro hac vice)
                             600 West Broadway, Suite 3300
                             San Diego, CA 92101
                             Telephone: 619/233-4565
                             619/233-0508 (fax)
                             cburke@scott-scott.com
                             wnoss@scott-scott.com
                             kanderson@scott-scott.com
                             klv@scott-scott.com

                             SCOTT+SCOTT ATTORNEYS AT LAW LLP
                             DAVID R. SCOTT (DS-8053)
                             JOSEPH P. GUGLIELMO (JG-2447)
                             DONALD A. BROGGI (DB-9661)
                             SYLVIA M. SOKOL (SS-0317)
                             THOMAS K. BOARDMAN (TB-0530)
                             The Helmsley Building
                             230 Park Avenue, 17th Floor
                             New York, NY 10169
                             Telephone: 212/223-6444
                             212/223-6334 (fax)
                             david.scott@scott-scott.com
                             jguglielmo@scott-scott.com
                             dbroggi@scott-scott.com
                             ssokol@scott-scott.com


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                             tboardman@scott-scott.com

                             ROBBINS GELLER RUDMAN & DOWD LLP
                             PATRICK J. COUGHLIN (PC-5116)
                             DAVID W. MITCHELL (pro hac vice)
                             RANDI D. BANDMAN (RB-7278)
                             ALEXANDRA S. BERNAY (pro hac vice pending)
                             CARMEN A. MEDICI (pro hac vice pending)
                             655 West Broadway, Suite 1900
                             San Diego, CA 92101-8498
                             Telephone: 619/231-1058
                             619/231-7423 (fax)
                             patc@rgrdlaw.com
                             davidm@rgrdlaw.com
                             randib@rgrdlaw.com
                             xanb@rgrdlaw.com
                             cmedici@rgrdlaw.com

                             KOREIN TILLERY
                             GEORGE A. ZELCS
                             205 N. Michigan Avenue, Suite 1950
                             Chicago, IL 60601-4269
                             Telephone: 312/641-9760
                             312/641-9751 (fax)
                             gzelcs@koreintillery.com

                             KOREIN TILLERY, LLC
                             STEPHEN M. TILLERY
                             STEVEN M. BEREZNEY
                             505 North 7th Street, Suite 3600
                             St. Louis, MO 63101
                             Telephone: 314/241-4844
                             314/241-3525 (fax)
                             stillery@koreintillery.com
                             sberezney@koreintillery.com

                             Counsel for Class Plaintiffs




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